      Case 1-18-40766-cec             Doc 240       Filed 03/30/20     Entered 03/31/20 10:12:09




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re:                                                        Chapter 11

EARL RASHEED DAVIS,                                           Case No. 18-40766 (CEC)

                                    Debtor.
----------------------------------------------------------x

                  ORDER RETROACTIVELY LIFTING AUTOMATIC STAY

        Upon the Court’s own motion at the hearing February 5, 20290 (CEC), and it appearing

that appropriate notice has been given, and cause existing, it is

        ORDERED that the automatic stay, as applied to that certain state court action, entitled:

Lakisha Hawthorne v. Brown, et al., Kings Supreme No. 510293/2017, is lifted nunc pro tunc as

of February 9, 2018.




                                                                      ____________________________
 Dated: Brooklyn, New York                                                    Carla E. Craig
        March 30, 2020                                                United States Bankruptcy Judge
